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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK


Maria Suarez,

                       Plaintiff,

                -against-
                                                                   Case No. 2:19-cv-07271-JS-SIL
Southern Glazer’s Wine and Spirits of New York,
LLC,

                        Defendant.


                                DISCOVERY PLAN

       Plaintiff Maria Suarez and Defendant Southern Glazer’s Wine and Spirits of New York,

LLC submit the following Proposed Discovery Plan in connection with the Initial Conference

scheduled for January 20, 2021, at 12:00 P.M. (Eastern), and pursuant to the Court’s Initial

Conference Order (Doc. No. 11):

       Deadlines & Court Appearances                                        Date

 Exchange of Rule 26(a)(1) disclosures                   January 18, 2021
 Service of first interrogatories and document           February 3, 2021
 demands
 Responses to first interrogatories and                  March 22, 2021
 document demand
 Motion to join new parties or amend the                 April 5, 2021
 pleadings
 Status conference in courtroom 820                      TBD by Court
 Completion of depositions                               May 6, 2021
 Identification of case-in-chief experts and             July 5, 2021
 service of Rule 26 disclosures
 Identification of rebuttal experts and service of       August 4, 2021
 Rule 26 disclosures
 Commencement of summary judgment motion                 October 4, 2021
 practice
 Pretrial conference in courtroom 820                    TBD by Court


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       Dated: January 12, 2021

             D RESPECTFULLY SUBMITTED:



                                        Anjanette Cabrera
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 ATTORNEY FOR PLAINTIFF
                                            ATTORNEYS FOR DEFENDANT



               20th    January
SO ORDERED THIS DAY OF    --                2021:


  /s/ STEVEN I. LOCKE

The Honorable Steven I. Locke
United States Magistrate Judge




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